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AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                     UNITED STATES DISTRICT COURT
                                                              for the
                                               __________ District of NEVADA

                  United States of America                       )
                             v.                                  )      Case No. 2:11-mj-00141-RJJ
                                                                 )
             HUMBERTO FLORES-GOMEZ                               )
                            Defendant                            )

                                        ORDER SCHEDULING A DETENTION HEARING


          A detention hearing in this case is scheduled as follows:

          Lloyd D. George U.S. Courthouse
Place:                                                                  Courtroom No.:      3D
          333 Las Vegas Blvd., So.
          Las Vegas, NV 89101
                                                                        Date and Time:      03/02/11 at 01:00 p.m.


        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:     Feb. 25, 2011
                                                                                           Judge’s signature


                                                                          ROBERT J. JOHNSTON, U.S. Magistrate Judge
                                                                                         Printed name and title
